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                                   Laura Davis Jones              March 31, 2022                   ljones@pszjlaw.com
                                                                                                         302.778.6401




W I L M I N G T O N, D E
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
                                  VIA HAND DELIVERY
N E W Y O R K, N Y                John A. Cerino
C O S T A M E S A, C A
                                  Clerk
919 NORTH MARKET STREET           United States District Court
17th FLOOR
P.O. BOX 8705
                                  District of Delaware
WILMINGTON                        844 N. King Street
DELAWARE 19899-8705               Wilmington, DE 19801
TELEPHONE: 302/652 4100
FACSIMILE: 302/652 4400                       Re:      Koch Minerals Sàrl, et al. v. Bolivarian Republic of
                                                       Venezuela; Registration of Judgment from Another
LOS ANGELES                                            District
10100 SANTA MONICA BLVD.
13th FLOOR                        Dear Mr. Cerino:
LOS ANGELES
CALIFORNIA 90067
                                          We write on behalf of Plaintiffs Koch Minerals Sàrl
TELEPHONE: 310/277 6910
                                  (“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”)
FACSIMILE: 310/201 0760
                                  (collectively “Plaintiffs”) in the matter Koch Minerals Sàrl, et al v.
                                  Bolivarian Republic of Venezuela, 1:17-cv-02559 (D.D.C.).
SAN FRANCISCO
150 CALIFORNIA STREET
                                  Enclosed, please find the following documents issued by the Clerk
15th FLOOR                        of the United States District Court for the District of Columbia from
SAN FRANCISCO                     that matter: (i) original Clerk’s Certification of a Judgment to be
CALIFORNIA 94111-4500
                                  Registered in Another District; and (ii) certified copy of Judgment,
TELEPHONE: 415/263 7000           in the above-referenced action.
FACSIMILE: 415/263 7010


                                          By order dated February 22, 2022, the United States District
NEW YORK
                                  Court for the District of Columbia authorized Plaintiffs to register
780 THIRD AVENUE
34th FLOOR
                                  for good cause the attached Judgment in the District of Delaware
NEW YORK                          pursuant to 28 U.S.C. § 1963.1 See Koch Minerals Sàrl v.
NEW YORK 10017-2024               Bolivarian Rep. of Venez., No. 17-cv-2559-ZMF, 2022 U.S. Dist.
TELEPHONE: 212/561 7700           LEXIS 32970 (D.D.C. Feb. 22, 2022). We accordingly request that
FACSIMILE: 212/561 7777           you kindly register this judgment in the District of Delaware. Thank
                                  you in advance for your attention to this matter.
COSTA MESA
650 TOWNE CENTER DRIVE
SUITE 1500
COSTA MESA                        1
                                   The attached judgment is a consolidated judgment amending errors found in the
CALIFORNIA 92626
                                  District Court of D.C.’s previous judgment issued on January 21, 2022. See Koch
TELEPHONE: 714/384 4750           Minerals Sàrl v. Bolivarian Rep. of Venez., No. 17-cv-2559-ZMF, D.I. 61–63.
FACSIMILE: 714/384 4751



                                  DOCS_DE:238816.1
WEB:   www.pszjlaw.com
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                            To the extent this matter requires a judicial assignment, we
                    request the matter be assigned to Judge Stark because it is related to
                    pending actions before Judge Stark against the Bolivarian Republic
                    of Venezuela and related defendants. See, e.g., Crystallex Intl.
                    Corp. v. Bolivarian Rep. of Venez.,1:17-mc-00151; Northrop
                    Grumman Ship Systems, Inc. v. The Ministry of Defense of the
                    Republic of Venez., 1:20-mc-00257. While Judge Stark has recently
                    been confirmed to the Federal Circuit, we understand he has
                    continued to preside over these related proceedings. In the event
                    that these related proceedings are transferred to another judge in the
                    District of Delaware, we request that this case be assigned to that
                    same judge.

                            Please let me know if you need any further information.

                                           Very truly yours,

                                           PACHULSKI STANG ZIEHL
                                           & JONES LLP

                                           /s/ Laura Davis Jones

                                           Laura Davis Jones (DE Bar No. 2436)
                                           Email: ljones@pszjlaw.com




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